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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2
                                                   )
 3
     IN RE: ROUNDUP PRODUCTS                       )   MDL No. 2741
 4   LIABILITY LITIGATION                          )
                                                   )   Case No. 3:16-md-02741-VC
 5                                                 )
                                                   )   [PROPOSED] ORDER GRANTING
 6   This document relates to:
                                                   )   JOINT REQUEST FOR REVISED
     ALL ACTIONS                                   )   SCHEDULE FOR WAVE 5-6 CASES
 7
                                                   )   AND ADDING WAVE 7 SCHEDULE
 8                                                 )

 9          THIS MATTER came before the Court based on the Court’s order for a revised schedule for
10   Wave 5-7 cases. Having reviewed the proposed schedule and finding good cause shown, the Court
11   GRANTS the parties’ proposed schedule for Wave 5-7 cases as detailed below and designates the
12   following below cases as part of Wave 7.
13
     Wave 5 Schedule
14

15   Wave 5A Schedule
16
                               Event                                         Date
17
     Plaintiffs’ expert reports due.                                      12/27/2022
18

19   Monsanto’s expert reports due.                                       1/24/2023
20

21   Close of expert discovery.                                           2/24/2023

22

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 1   Wave 5B Schedule
 2
                               Event                              Date
 3   Plaintiffs’ expert reports due.                           1/26/2023
 4

 5   Monsanto’s expert reports due.                            2/27/2023

 6
     Close of expert discovery.                                3/29/2023
 7

 8

 9
     Wave 5C Schedule
10

11                             Event                              Date
     Plaintiffs’ expert reports due.                           2/27/2023
12

13
     Monsanto’s expert reports due.                            3/29/2023
14

15   Close of expert discovery.                                4/28/2023
16

17
     Wave 5D Schedule
18

19
                               Event                              Date
20   Plaintiffs’ expert reports due.                           3/29/2023

21
     Monsanto’s expert reports due.                            4/28/2023
22

23
     Close of expert discovery.                                5/29/2023
24

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 1   Wave 5 Briefing Schedule
 2
                              Event                                              Date
 3   Monsanto’s Daubert and summary judgment briefs due.                      6/16/2023
     Plaintiffs’ opposition and cross-motions re:                             6/30/2023
 4
     Daubert and summary judgment due.
 5   Monsanto’s oppositions and replies re: Daubert and                       7/7//2023
     summary judgment due.
 6

 7   Plaintiffs’ replies re: Daubert and summary judgment due.                7/21/2023
     Daubert hearing (if necessary).                                           9/1/2023
 8

 9
     The Wave 5 cases shall be assigned the below sub-waves for expert discovery purposes as follows:
10

11   Wave 5A
12

13               Plaintiff’s Name        MDL Case No.                Transferor Court
14              Ward, Raleigh O.          3:20-cv-00028              SC - District of SC

15           Arvelo-Plumey, Alma           3:22-cv-02307         PR - District of Puerto Rico

16
            Berrios-Sampler, Ramon         3:22-cv-02310         PR - District of Puerto Rico
17
               McRay, Mary Lou             3:21-cv-01213                 KY - W.D.
18
                 DiVittorio, Dan           3:17-cv-05176                 LA - E.D.
19

20            Powell, Donnie Leon          3:20-cv-05623                 TX - N.D.
21               Carroll, Sharlyn          3:20-cv-08516                 MO - E.D.
22
               Campbell, Craig T.          3:19-cv-08378                 MO - E.D.
23
                  Steele, Henry            3:20-cv-07889                 LA - E.D.
24

25              Hutchison, Leslie          3:20-cv-03444                 MO - E.D.

26             Darst, Daniel Miller        3:19-cv-04478                 MO - E.D.
27                Poroz, Natala            3:19-cv-01243            ME - District of ME
28


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 1           Poteet, Izora       3:20-cv-02415          MO - E.D.
 2        Sayles, Reginald       3:20-cv-02417          MO - E.D.
 3
           Williams, Larry       3:20-cv-02416          MO - E.D.
 4
             Wade, Craig         3:20-cv-08178          MO - E.D.
 5
          Shipley, Joseph E.     3:17-cv-01982           IA - S.D.
 6

 7        Murdock, Kenzie        3:20-cv-01363          KY - W.D.
              Elizabeth
 8       Lagarde, Jr., Charles   3:19-cv-02834          LA - E.D.
 9
            Scott, Stacy F.      3:17-cv-05686          LA - E.D.
10
          Fitzpatrick, Kelsea    3:20-cv-01959          KY - E.D.
11             Rookard
         Shipman, Edward B.      3:21-cv-03272          AR - W.D.
12

13          Bussell, David       3:19-cv-07207          LA - W.D.

14      Aiken, Jr., Eugene L.    3:20-cv-00065          MO - E.D.
15     Albrecht, Michael David   3:20-cv-01636          MO - E.D.
16
           Pinheiro, Paula       3:20-cv-08173      AZ - District of AZ
17
          Henagan, Deborah       3:20-cv-06349          LA - W.D.
18
        Kendrick, Wendy W.       3:19-cv-03326          LA - M.D.
19

20          Booth, David         3:20-cv-04654          OH - N.D.

21        Coressel, Denise       3:20-cv-03720          OH - N.D.
22
              Mire, John         3:20-cv-04752          LA - E.D.
23
            Baid, Prabha         3:20-cv-06774     MA - District of MA
24
             Breger, Lisa        3:18-cv-02257     MA - District of MA
25

26          Cotter, Robert       3:20-cv-03108     MA - District of MA

27          Morin, Wayne         3:20-cv-01019     MA - District of MA
28


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 1             Skonicki, Barbara       3:20-cv-08053           FL - M.D.
 2          Williams, Thomas N.        3:16-cv-03537            IA – S.D.
 3
          Estate of Pertzog (Tammy     3:20-cv-00006           FL - M.D.
 4                 Penland)
            Chirico, Pamela Jean       3:20-cv-00009           FL - M.D.
 5

 6

 7
     Wave 5B
 8

 9
               Plaintiff’s Name       MDL Case No.         Transferor Court
10       Gonzalez, Carlos M. Plaza     3:22-cv-02303   PR - District of Puerto Rico

11
           Jimenez-Yordán, Jose        3:22-cv-02304   PR - District of Puerto Rico
12
                Ramuno, John V.        3:20-cv-03732           MO - E.D.
13
                 Howe, Thomas          3:20-cv-00036           MO - E.D.
14

15              Jessop, LeAnnah        3:20-cv-00042           MO - E.D.
16                Katte, Sandra        3:20-cv-00039           MO - E.D.
17
                 Moore, Glenn          3:20-cv-00041           MO - E.D.
18
                 Rodgers, David        3:20-cv-06121           KY - E.D.
19

20                Bundy, Rob           3:20-cv-06345           FL - M.D.

21         Joiner, William Travis      3:20-cv-03828           LA - W.D.

22               Madere, Bryan         3:18-cv-07057           LA - E.D.
23
          Kelly-Leppert, Consuelo      3:21-cv-02910           MO - E.D.
24                   E.
           Doran, Jr., Richard A.      3:20-cv-02650       SC - District of SC
25
                  Craig, Walter        3:20-cv-06660           MO - E.D.
26
27             Sonnier, Sr., Steven    3:20-cv-04217           LA - W.D.

28


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 1         Williams, Marc          3:21-cv-02912        LA - E.D.
 2         Duck, Albert Ray        3:20-cv-02641        AR - E.D.
 3
             Culp, David           3:20-cv-03439        MO - E.D.
 4
           Glaze, Deborah          3:20-cv-00064        MO - E.D.
 5
        Gorman, John George        3:20-cv-01670        MO - E.D.
 6

 7     Johnson, Michael Henry      3:20-cv-01234        MO - E.D.

 8       Pinheiro, Eduino N.       3:21-cv-00041    AZ - District of AZ
 9
         Liang, Janice Wood        3:20-cv-07395        LA - E.D.
10
          Rogers, Jr., Dwight      3:20-cv-03064        AR - E.D.
11
           Cryan, Catherine        3:17-cv-05084        OH - N.D.
12

13      Dominique, Vivian L.       3:21-cv-02705        OH - N.D.

14
           Sutliff, Timothy        3:19-cv-02832        MO - E.D.
15
           Salas, Nancy C.         3:21-cv-06173        FL - S.D.
16
         Fleischhauer, Dieter      3:21-cv-05971        IL - N.D.
17

18       Sarafian, Alexander       3:20-cv-01068        MI - E.D.

19      Dobberpuhl, Rickie D.      3:21-cv-03754        MO - E.D.

20         Ryder, Timothy          3:20-cv-00584    DE - District of DE
21
             Turner, Judy          3:19-cv-06392    DE - District of DE
22
            Nelson, Gerald         3:19-cv-04576   MA - District of MA
23
       Nicolacopoulos, Nicoletta   3:20-cv-01018   MA - District of MA
24

25       Ryan, William Beau        3:20-cv-03936   MA - District of MA

26       Richards, Thomas J.       3:19-cv-01380        FL - M.D.
27
        Gardner, James Edward      3:18-cv-01283        FL - M.D.
28


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 1   Wave 5C
 2

 3             Plaintiff’s Name       MDL Case No.         Transferor Court
          Ocacio-Acevedo, Gabriel      3:22-cv-02308   PR - District of Puerto Rico
 4

 5             Pagan, Juan Rivera      3:22-cv-02287   PR - District of Puerto Rico

 6
               Rios, Martin Velez      3:20-cv-08552   PR - District of Puerto Rico
 7
                Mank, Christine        3:19-cv-08035      ME - District of ME
 8
                  Beisner, Eric        3:20-cv-00056           MO - E.D.
 9

10                Bodie, John          3:20-cv-00057           MO - E.D.

11               Calloway, John        3:20-cv-00059           MO - E.D.
12             Campbell, William       3:20-cv-00048           MO - E.D.
13
                Keeney, Pamela         3:20-cv-00433           MO - E.D.
14
               McCulloch, Karen        3:20-cv-01672           MO - E.D.
15
               Moers, John Warren      3:20-cv-01671           MO - E.D.
16

17                 Neff, Jerry         3:19-cv-05294           MO - E.D.

18              Gordon, Garfield       3:19-cv-06423       AZ - District of AZ
19
           Delorme-Barton, Karen       3:18-cv-01427            IL - N.D.
20
          Singleton, Jr., Danny Ray    3:20-cv-02410           LA - W.D.
21
               Thirstrup, Robert J.    3:19-cv-03327           LA - E.D.
22

23             Perry, Catherine A.     3:21-cv-05621           OH - N.D.

24              Rhuland, Jason C.      3:19-cv-05598           OH - N.D.

25               Tignor, Robert        3:19-cv-02832           MO - E.D.
26
                Colton, Andrew         3:20-cv-04834            FL - N.D.
27
                  Hayes, Robin         3:21-cv-05398            IL - C.D.
28


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 1              Kelly, Donald J.       3:21-cv-02548           LA - M.D.
 2             Casale, Patricia A.     3:19-cv-05238            FL - S.D.
 3
           Glavanovits, Michele        3:20-cv-01016            IL - N.D.
 4
               Adams, III, Jesse R.    3:20-cv-04746           LA - E.D.
 5
                  Dillon, John         3:19-cv-06184            MI - E.D.
 6

 7              Hebert, Marta J.       3:21-cv-04636           MO - E.D.

 8              Huber, Jeffrey D.      3:21-cv-01331           MO - E.D.
 9
                Garrison, Richard      3:19-cv-00280           OH - S.D.
10
                Humphrey, Paul         3:20-cv-00019       DE - District of DE
11
                 Lynn, Rodney          3:20-cv-01221       DE - District of DE
12

13                Miller, Marc         3:19-cv-07393       DE - District of DE

14               Phillips, Sandra      3:20-cv-00844       DE - District of DE
15              Jackson, Elouise       3:20-cv-08522           MO - E.D.
16
               Engelking, Kenneth      3:20-cv-00846       DE - District of DE
17
                Pickert, Alan M.       3:20-cv-00720           FL - M.D.
18
               Dean, Derek Dante       3:20-cv-00017           FL - M.D.
19

20

21   Wave 5D

22

23             Plaintiff’s Name       MDL Case No.         Transferor Court
             Sanchez, Luz M.           3:22-cv-02301   PR - District of Puerto Rico
24              Rodriguez
25          Schulze-Maldonado,         3:22-cv-02305   PR - District of Puerto Rico
                  Rafael
26
          Torres-Santiago, Eloina      3:22-cv-02306   PR - District of Puerto Rico
27

28                Miller, Eileen       3:20-cv-08523           MO - E.D.


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 1       Thomas, Diane M.       3:20-cv-01233          MO - E.D.
 2         Boone, William       3:20-cv-07884          LA - E.D.
 3
          Huffman, Virginia     3:20-cv-02061          LA - M.D.
 4
          Gonzalez, Martin      3:19-cv-03300          VA - E.D.
 5
         Anderson, Raymond      3:19-cv-08034      ME - District of ME
 6

 7        Dotson, LaTanya       3:20-cv-02414          MO - E.D.

 8         Finnell, Patrick     3:20-cv-02419          MO - E.D.
 9
         Goodman, Jasmine       3:20-cv-03726          MO - E.D.
10
            Hagood, Eric        3:20-cv-00035          MO - E.D.
11
         Scheideman, Kelly      3:20-cv-01674          MO - E.D.
12

13         Tiddark, Linda       3:20-cv-03060          MO - E.D.

14          Wood, Roger         3:20-cv-01638          MO - E.D.
15        Humphrey, Kevin       3:20-cv-04647          MO - E.D.
16
          Wiggins, Mark E.      3:19-cv-06445          LA - W.D.
17
            Zeno, Anissa        3:21-cv-04477          LA - E.D.
18
          Stackhouse, Mark      3:21-cv-02908          OH - N.D.
19

20          Katz, Bernice       3:20-cv-01825          MI - E.D.

21      Campbell, Kathy Ann     3:21-cv-02911          KY - W.D.
22
           Rowland, Dean        3:19-cv-05310          OH - N.D.
23
           Setzer, William      3:17-cv-03448          OH - N.D.
24
        Wistinghausen, Robert   3:20-cv-00027          OH - N.D.
25

26         Wynne, Ronnie        3:19-cv-02832          MO - E.D.

27         Ramey, Lenvil        3:17-cv-05878          KY - W.D.
28


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 1               Boatright, Allen            3:21-cv-00675                   FL - N.D.
 2              Williams, Charles            3:20-cv-04758              SC - District of SC
 3
               Turnoff, William C.           3:19-cv-03837                   FL - S.D.
 4
             McNamara, Jr., Dennis           3:21-cv-00963                   LA - E.D.
 5
                 Akrawi, Habib               3:19-cv-05874                   MI - E.D.
 6

 7              Afanador, George             3:20-cv-01229              DE - District of DE

 8                 Brokaw, Jay               3:19-cv-07395              DE - District of DE
 9
               Burlingame, Linda             3:20-cv-01629              DE - District of DE
10
                  Dew, Palmer                3:19-cv-08082              DE - District of DE
11
                Mullisi, Armelin             3:20-cv-00007                   FL - M.D.
12

13               Gazaleh, Jed H.             3:19-cv-00635                   FL - M.D.

14           Sandra Salem (Estate of         3:18-cv-01283                   FL - M.D.
              Salem, John Joseph)
15

16
     Wave 6 Schedule
17

18
                               Event                                                 Date
19   Plaintiffs must submit the newly approved Plaintiff Fact     14 days from approval of the new
     Sheet (including all relevant authorizations) due for any    Plaintiff Fact Sheet.
20   plaintiffs who have not yet provided them.
     Each plaintiff will provide any medical records in his/her   14 days from approval of the new
21   possession and/or his/her counsel’s possession to defense    Plaintiff Fact Sheet.
     counsel.
22
     Deficiency letter(s) sent.                                   4 business days from receipt of PFS
23
     Deadline to cure Plaintiff Fact Sheet deficiencies. The      7 days from receipt of deficiency letter
24   parties may file a consolidated letter brief regarding any
     disputes about whether a deficiency exists.
25
     Close of fact discovery.                                     6/12/2023
26   The parties should file a letter brief identifying any 7/3/2024
     disputes over the applicable state law for the wave 3 cases.
27   For cases where that is undisputed, the parties should file
     a stipulation identifying the governing state law.
28


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 1   Wave 6A Schedule
 2
                               Event                             Date
 3   Plaintiffs’ expert reports due.                          6/26/2023
 4

 5   Monsanto’s expert reports due.                           7/26/2023

 6
     Close of expert discovery.                               8/25/2023
 7

 8

 9
     Wave 6B Schedule
10

11                             Event                             Date
     Plaintiffs’ expert reports due.                          7/26/2023
12

13
     Monsanto’s expert reports due.                           8/25/2023
14

15   Close of expert discovery.                               9/25/2023
16

17
     Wave 6C Schedule
18

19
                               Event                             Date
20   Plaintiffs’ expert reports due.                          8/25/2023

21
     Monsanto’s expert reports due.                           9/25/2023
22

23
     Close of expert discovery.                               10/25/2023
24

25

26
27

28


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 1   Wave 6D Schedule
 2
                               Event                                            Date
 3   Plaintiffs’ expert reports due.                                         9/25/2023
 4

 5   Monsanto’s expert reports due.                                         10/25/2023

 6
     Close of expert discovery.                                             11/30/2023
 7

 8

 9
     Wave 6 Briefing Schedule
10

11                            Event                                            Date
     Monsanto’s Daubert and summary judgment briefs due.                    12/14/2023
12   Plaintiffs’ opposition and cross-motions re:                           12/29/2023
     Daubert and summary judgment due.
13
     Monsanto’s oppositions and replies re: Daubert and                      1/8/2024
14   summary judgment due.
15   Plaintiffs’ replies re: Daubert and summary judgment due.               1/22/2024
16   Daubert hearing (if necessary).                                          3/1/2024

17
     The Wave 6 cases shall be assigned the below sub-waves for expert discovery purposes as follows:
18
     Wave 6A
19

20
                 Plaintiff’s Name        MDL Case No.               Transferor Court
21              Gonzalez, Edilia          3:19-cv-08225                CA - C.D.
22
                 Holland, Joseph           3:20-cv-08521                LA - W.D.
23
                  Cohen, Saul              3:19-cv-03632                CA - N.D.
24

25                Fitz, Marcus             3:21-cv-03580                NY - S.D.

26               Konzny, Larry             3:20-cv-08797                FL - M.D.
27
                 Porter, Patrick           3:20-cv-05371                CA - C.D.
28


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 1           Petrie, David        3:21-cv-01509          CA - C.D.
 2         Griffiths, Alyne       3:20-cv-07736     NV - District of NV
 3
           Vavara, Cynthia        3:19-cv-08117          NY - E.D.
 4
          Copeland, Wanda         3:20-cv-02649     SC - District of SC
 5
           Alamiri, Tawfeeq       3:20-cv-08844          OH - N.D.
 6

 7           Arnt, Phillip        3:20-cv-02412          MI - W.D.

 8        Breymeyer, Henry        3:20-cv-06344          IL - C.D.
 9
            Taylor, Dallan        3:19-cv-05979      ID - District of ID
10
           Anderson, Gary         3:20-cv-01584     MT - District of MT
11
             Frye, Martin         3:21-cv-00039     MD - District of MD
12

13         Asher, Charles L.      3:20-cv-07215     NE - District of NE

14      Billingsley, Randall F.   3:20-cv-04326     NE - District of NE
15      Brumbaugh, Ronald D.      3:19-cv-03030     NE - District of NE
16
         Corbett, Timothy M.      3:20-cv-00118     NE - District of NE
17
         Dickerson, Davis W.      3:21-cv-01825     NE - District of NE
18
         Hochstein, Marvin J.     3:21-cv-00605     NE - District of NE
19

20         Wallace, Joseph        3:21-cv-01660          CA - S.D.

21            Pike, John          3:20-cv-08192          CA - N.D.
22
           McRorie, Bertha        3:18-cv-01110         MO - E.D.
23
             Bonner, Ann          3:19-cv-07069          CA - N.D.
24
          Bradshaw, Lena G.       3:19-cv-06571          CA - N.D.
25

26         Brown, Hugh C.         3:19-cv-06572          CA - N.D.

27     Clawson-Roberts, Melanie   3:19-cv-06573          CA - N.D.
                 L.
28


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 1         Kraushar, Gaytha         3:20-cv-05932           MO - E.D.
 2        Hollander, Michael        3:20-cv-03114           CA - N.D.
 3
        Pellerin, Sr., Gilbert P.   3:21-cv-04634           LA - W.D.
 4
           Cobian, Manuel           3:19-cv-07351           CA - C.D.
 5
            Rodgers, Roy            3:21-cv-03297   Virgin Islands - District of
 6
                                                          Virgin Islands
 7        Lincourt, Catherine       3:21-cv-05317           NY - N.D.

 8       Holliday, Michael L.       3:19-cv-03014           OH - N.D.
 9
           Boutelle, Marilyn        3:20-cv-02717           NY - N.D.
10
            Rawson, Dona            3:20-cv-01960           CA - C.D.
11
          Lindstrom, Dennis         3:19-cv-05070           CA - N.D.
12

13           Gray, Megan            3:21-cv-06487           CA - N.D.

14          Benson, Terry           3:19-cv-04953           CA - N.D.
15          Bray, Beverly           3:19-cv-05060           CA - N.D.
16
            Crooks, Jeffrey         3:19-cv-05027           CA - N.D.
17
           Emmons, Janice           3:20-cv-06219           CA - N.D.
18
            Ferris, Dennis          3:19-cv-05077           CA - N.D.
19

20          Beyeler, Vet C.         3:19-cv-04659      NE - District of NE

21        Bjorklund, Keith G.       3:19-cv-04681     MN - District of MN
22
           Witsell, Mark A.         3:20-cv-07214    HI - District of Hawaii
23
           Aultman, James           3:19-cv-05236           CA - N.D.
24
              Borum, Jay            3:19-cv-05242           CA - N.D.
25

26         Butterfield, Estel       3:19-cv-05243           CA - N.D.

27          Porteus, Kevin          3:20-cv-03309           NY - E.D.
28


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 1                 Holt, Alvin        3:21-cv-05795    ID - District of ID
 2               Geter, Franklin      3:19-cv-08380        NY - S.D.
 3
                  Glatt, Fredda       3:20-cv-04649        CA - S.D.
 4
            Thompson, Matthew         3:20-cv-08851        FL - S.D.
 5
                 Iona, Deborah        3:20-cv-02404        FL - S.D.
 6

 7              Carchia, Kathryn      3:20-cv-05873   MA - District of MA

 8               Sullivan, Dan        3:20-cv-03549        CA - N.D.
 9
                 Moomey, Eva          3:20-cv-01311   NM - District of NM
10
                  Allen, Frank        3:19-cv-05381   NH - District of NH
11
                  Becker, Sara        3:19-cv-07238   NH - District of NH
12

13             Concannon, Barbara     3:19-cv-05596   NH - District of NH

14             Klaveano, Jerry K.     3:20-cv-00198       WA - E.D.
15

16
     Wave 6B
17

18
                 Plaintiff’s Name    MDL Case No.     Transferor Court
19             Newman, Danielle       3:20-cv-08524      LA - W.D.

20                 Jenks, Ray         3:19-cv-03591        CA - N.D.
21
          Gonzalez, Benito Ornelas    3:20-cv-06198        CA - C.D.
22
                Barry, Mary Gail      3:21-cv-03581        NY - S.D.
23

24               Drons, Robert        3:20-cv-08167        FL - N.D.

25               Smither, Lewis       3:20-cv-08054        FL - M.D.
26                 Khal, Sami         3:20-cv-09292   NV - District of NV
27
                 Kimble, Nacole       3:21-cv-01334   NV - District of NV
28


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     Case 3:16-md-02741-VC Document 15725
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 1            Kay, Linda         3:21-cv-00175      SC - District of SC
 2          Castro, Renilda      3:19-cv-03887           CA - N.D.
 3
           Komm, Leon R.         3:20-cv-06196          NY - W.D.
 4
           Deneve, Richard       3:19-cv-07341           IA - N.D.
 5
            Elzey, Arnold        3:19-cv-07373           OH - N.D.
 6

 7         Lahote, Michael       3:19-cv-06448           MI - E.D.

 8           Hinkle, John        3:20-cv-00841      NE - District of NE
 9
              Funk, Carl         3:20-cv-03928       ID - District of ID
10
          Hueschen, Lee A.       3:21-cv-04937      NE - District of NE
11
            Jecha, Ronald        3:20-cv-03303      NE - District of NE
12

13       Johnson, Frederick C.   3:19-cv-08090      NE - District of NE

14        Kaup, Michael N.       3:20-cv-01070      NE - District of NE
15       Kean, Joseph Eugene     3:19-cv-08222      NE - District of NE
16
          Pearson, Maureen       3:20-cv-01763      NE - District of NE
17
            Chavez, Livier       3:20-cv-06775           CA - C.D.
18
          Cantu, Gilberto P.     3:19-cv-08036           TX - S.D.
19

20         Dixon, Lawrence       3:19-cv-05885     HI - District of Hawaii

21          Clinker, Mark        3:19-cv-06574           CA - N.D.
22
          Cooper, Mitchell B.    3:19-cv-06575           CA - N.D.
23
            Frost, Mike R.       3:19-cv-06576           CA - N.D.
24
         Johnson, Kenneth W.     3:19-cv-06577           CA - N.D.
25

26         Feldman, Myron        3:20-cv-05934           MO - E.D.

27        Hernandez, Edwin       3:19-cv-05872           MO - E.D.
28


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     Case 3:16-md-02741-VC Document 15725
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 1          Leibel, Ronald       3:21-cv-05970      UT - District of UT
 2           Blau, Denise        3:21-cv-05103           IL - N.D.
 3
          Caccia, Michael J.     3:20-cv-01915       NJ - District of NJ
 4
            Geter, Franklin      3:19-cv-08380           NY - S.D.
 5
             Glatt, Fredda       3:20-cv-04649           CA - S.D.
 6

 7         Garrott, Richard      3:19-cv-05063           CA - N.D.

 8           Goik, Justin        3:19-cv-04812           CA - N.D.
 9
            Holden, Walter       3:19-cv-05085           CA - N.D.
10
          Johnson II, William    3:19-cv-05095           CA - N.D.
11
            Kuehn, Nathan        3:20-cv-00669           CA - N.D.
12

13        Livermore, Steven      3:19-cv-14850           CA - N.D.

14          McCain, Oliver       3:19-cv-05097           CA - N.D.
15       Christensen, David H.   3:19-cv-04679      MN - District of MN
16
            Larsen, Charles      3:19-cv-00004      MN - District of MN
17
            Pullen, Howard       3:19-cv-07462     HI - District of Hawaii
18
            Costa, Melvin        3:19-cv-05245           CA - N.D.
19

20           Gerlach, Stan       3:19-cv-05246           CA - N.D.

21          Gniadek, Alan        3:19-cv-05249           CA - N.D.
22
           Gordon, Andrew        3:19-cv-05252           CA - N.D.
23
           Hoffman, Robert       3:19-cv-05253           CA - N.D.
24
         Simmons, Andrew C.      3:20-cv-03311           NY - E.D.
25

26           Blau, Denise        3:21-cv-05103           IL - N.D.

27        Caccia, Michael J.     3:20-cv-01915       NJ - District of NJ
28


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       Case 3:16-md-02741-VC Document 15725
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 1               Lundy, Thomas        3:20-cv-09289        FL - M.D.
 2               Proctor, Mark        3:21-cv-00172        FL - S.D.
 3
                Helmich, Gerald       3:20-cv-05941       NY - W.D.
 4
               Eordekian, Sophie      3:20-cv-05874   MA - District of MA
 5
                  Farrell, Eric       3:20-cv-07321   CT - District of CT
 6

 7              Slominski, Edwin      3:17-cv-05481   NM - District of NM

 8              Desmarais, Louis      3:19-cv-08115   NH - District of NH
 9
                Goodwin, Linda        3:20-cv-01738   NH - District of NH
10
               Hallisey, Ann Maire    3:19-cv-08116   NH - District of NH
11

12
     Wave 6C
13

14

15                Plaintiff’s Name   MDL Case No.     Transferor Court
                 Romano, Frank        3:21-cv-01214      LA - E.D.
16
               McWilliams, Dean       3:20-cv-07104        CA - N.D.
17

18               Polsley, Darin       3:20-cv-07107        CA - N.D.

19                Embaan, Ben         3:21-cv-01336   NV - District of NV
20
           Zanelli, Richard Louis     3:20-cv-05373        CA - C.D.
21
                 Collins, James       3:20-cv-01419    NJ - District of NJ
22
               Kooi, Joslyn Ethel     3:20-cv-06656       WA - W.D.
23

24                 Fox, Susan         3:20-cv-08847        NY - E.D.

25             Aldoupolis, George     3:20-cv-03433   MA - District of MA
26                 Lee, Phillip       3:20-cv-00576        CA - N.D.
27
                  Potter, Aaron       3:20-cv-01102       NY - W.D.
28


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     Case 3:16-md-02741-VC Document 15725
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 1         Lenfestey, Lynne       3:20-cv-08848         OH - N.D.
 2          Lloyd, Betty J.       3:20-cv-00588         OH - N.D.
 3
           Mefford, Robert        3:20-cv-02565         MI - W.D.
 4
         Berry, Jr., Edward J.    3:20-cv-05963     NM - District of NM
 5
        Pieper, Timothy Norbert   3:20-cv-00272     NE - District of NE
 6

 7          Pillen, Barbara       3:20-cv-03449     NE - District of NE

 8         Prestito, Thomas       3:20-cv-04223     NE - District of NE
 9
           Sachau, Kent E.        3:20-cv-01071     NE - District of NE
10
           Schroeder, John        3:20-cv-01275     NE - District of NE
11
            Slagle, Kristin       3:20-cv-05964     NE - District of NE
12

13          Hedges, Roylee        3:19-cv-05306     NM - District of NM

14          Roth, Philip W.       3:20-cv-01543     CO - District of CO
15        Woolfolk, Marilyn       3:20-cv-04760         LA - M.D.
16
           Trobona, Charles       3:19-cv-07234         LA - E.D.
17
            May, Randy E.         3:19-cv-06578         CA - N.D.
18
            Olsen, James S.       3:19-cv-06579         CA - N.D.
19

20       Radanovich, Lilian J.    3:19-cv-06580         CA - N.D.

21          Sipich, Barbara       3:19-cv-06581         CA - N.D.
22
            Bischoff, David       3:20-cv-05937         MO - E.D.
23
             Daniels, Jerry       3:19-cv-05870         MO - E.D.
24
          Rogers, Thomas G.       3:20-cv-07221     NM - District of NM
25

26         Fallon, Thomas I.      3:20-cv-00248         NY - S.D.

27            Leath, Paul         3:21-cv-02907         CA - C.D.
28


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     Case 3:16-md-02741-VC Document 15725
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 1        Beavers, Jr., Ricky   3:20-cv-08799           WA - W.D.
 2       Lopez, Jose De Jesus   3:20-cv-05888            CA - N.D.
 3            Gonzalez
         Degarmeaux, Bruce      3:19-cv-07005            CA - N.D.
 4
           Scheh, Johnetta      3:20-cv-02427            TX - E.D.
 5
        Montgomery, Steven R.   3:20-cv-07397            LA - W.D.
 6

 7         Miller, Deborah      3:19-cv-04946            CA - N.D.

 8           Moore, Ray         3:19-cv-04974            CA - N.D.
 9
            Mosely, Darrel      3:19-cv-05088            CA - N.D.
10
            Rice, William       3:19-cv-04941            CA - N.D.
11
            Rivera, Diane       3:19-cv-04962            CA - N.D.
12

13        Saunders, Virgenna    3:19-cv-05053            CA - N.D.

14        Schuch, Elizabeth     3:20-cv-00953            CA - N.D.
15        Larson, Michael S.    3:19-cv-03815       MN - District of MN
16
          Laughlin, Mark D.     3:19-cv-04016       MN - District of MN
17
            Kimura, Karl        3:20-cv-00190      HI - District of Hawaii
18
            Jones, Bobby        3:19-cv-05256            CA - N.D.
19

20       Luetcke, Christopher   3:22-cv-03963            CA - N.D.

21          Martin, Patrick     3:22-cv-03966            CA - N.D.
22
            Moss, Douglas       3:22-cv-04012            CA - N.D.
23
          Norgren, Suzanne      3:22-cv-03967            CA - N.D.
24
           Poulsen, Mandi       3:21-cv-03757       UT - District of UT
25

26         Dai, Christopher     3:20-cv-03109            NY - E.D.

27          Gilberg, Ellen      3:20-cv-07735            FL - M.D.
28


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       Case 3:16-md-02741-VC Document 15725
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 1              Glassman, Philip     3:20-cv-00024         FL - S.D.
 2        Daulton, Renee Theresa     3:20-cv-08518    MN - District of MN
 3
                Moore, Thomas        3:20-cv-03366    NH - District of NH
 4
          Schumacher, Dea Anna       3:20-cv-00713        CA - N.D.
 5
                 Joseph, Robert      3:19-cv-04578    NH - District of NH
 6

 7              Kryger, Maureen      3:20-cv-04839    NH - District of NH

 8                Nichols, Lee       3:19-cv-08114    NH - District of NH
 9
                Nichols, Roger       3:20-cv-02718    NH - District of NH
10
                 King, Jeffrey       3:19-cv-08083    DE - District of DE
11

12
     Wave 6D
13

14

15               Plaintiff’s Name   MDL Case No.      Transferor Court
                 Kearns, Kevin       3:19-cv-06709       NY - E.D.
16
               Lindeblad, Gary G.    3:20-cv-06781        WA - E.D.
17

18              Guiberson, Don       3:20-cv-06780    MT - District of MT

19                Martin, Noel       3:19-cv-04229    MN - District of MN
20
               Ghaznavi, Rafat K.    3:21-cv-02706         FL - N.D.
21
                Penalver, Jorge      3:20-cv-08801         FL - S.D.
22
               Martinez, Elpidia     3:21-cv-01508        CA - C.D.
23

24               Burris, James       3:21-cv-01337    NV - District of NV

25              Terriaca, Joseph     3:19-cv-07210        NY - E.D.
26                Miller, Eric       3:19-cv-07399    SC - District of SC
27
                Mendivil, Adam       3:19-cv-05482        CA - N.D.
28


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     Case 3:16-md-02741-VC Document 15725
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 1        Nissen, Richard A.    3:20-cv-06989            OH - N.D.
 2         Searle, John M.      3:20-cv-08850            OH - N.D.
 3
           Tierney, Colleen     3:20-cv-04211            OH - N.D.
 4
           Stockdale, Kara      3:20-cv-06186       NE - District of NE
 5
           Sutton, Pamela J.    3:19-cv-05522       NE - District of NE
 6

 7        Urbanek, Kathryn      3:20-cv-06355       NE - District of NE

 8        Wilson, Charles S.    3:21-cv-03414       NE - District of NE
 9
          Wolken, Eugene D.     3:19-cv-07979       NE - District of NE
10
          Zach, Lawrence J.     3:21-cv-03420       NE - District of NE
11
            Rose, Katrina       3:21-cv-03167       NM - District of NM
12

13         Boucher, Robert      3:21-cv-07475            CA - N.D.

14        Bourgeois, Helen      3:19-cv-03325           LA - M.D.
15          Gannon, Jason       3:19-cv-08064           WA - E.D.
16
          Steen, Ronald W.      3:19-cv-06582            CA - N.D.
17
           Tanner, Carl B.      3:19-cv-06583            CA - N.D.
18
          Vislocky, Peter E.    3:19-cv-06794            CA - N.D.
19

20          Yetter, Glenn       3:19-cv-06584            CA - N.D.

21          Baker, Brenda       3:19-cv-05873           MO - E.D.
22
            Batts, Stanley      3:20-cv-05939           MO - E.D.
23
          Ward, Jeffrey Lynn    3:21-cv-02121        ID - District of ID
24
          Weeder, Tracie E.     3:19-cv-05378       OR - District of OR
25

26       Mattingly, Owen A.     3:21-cv-01658           KY - W.D.

27           Rolish, Lois       3:20-cv-01421            CA - C.D.
28


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     Case 3:16-md-02741-VC Document 15725
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 1          Bulone, Angelo           3:20-cv-03719   SC - District of SC
 2        Prince, Spencer L.         3:21-cv-02127   UT - District of UT
 3
         Dinner, Marie Bernice       3:20-cv-03360   CO - District of CO
 4
                 A. H.               3:21-cv-04929    NJ - District of NJ
 5
           Scott, Allowishes         3:19-cv-05093        CA - N.D.
 6

 7          Swartz, Arlen,           3:19-cv-04859        CA - N.D.
         Individually and as a
 8     Surviving
           Trefry,Heir of Patricia
                   Charleen          3:19-cv-04921        CA - N.D.
           Swartz, Deceased
 9
             Vitale, Ralph           3:19-cv-04919        CA - N.D.
10
            Waligura, Mark           3:19-cv-04981        CA - N.D.
11
           Wilcome, Francis          3:19-cv-04875        CA - N.D.
12

13          Williams, Dale           3:20-cv-00641        CA - N.D.

14     Nelson-Scheffler, Debbie      3:19-cv-03788   MN - District of MN
                  L.
15        Sabraski, Jeffrey J.       3:19-cv-03463   MN - District of MN
16
           Swaney, John F.           3:19-cv-04680   MN - District of MN
17
            Pinkard, Marty           3:22-cv-04011        CA - N.D.
18
           Schoonover, John          3:22-cv-03969        CA - N.D.
19

20          Sorensen, Carol          3:22-cv-03971        CA - N.D.

21           Watson, Jack            3:22-cv-03972        CA - N.D.
22
           Whitford, Robert          3:22-cv-04014        CA - N.D.
23
          Zollinger, Courtney        3:21-cv-04472   UT - District of UT
24
           Boutelle, Marilyn         3:20-cv-02717        NY - N.D.
25

26         Catania, Anthony          3:20-cv-03300        NY - E.D.

27           Belfleur, Jean          3:20-cv-00621        FL - M.D.
28


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 1              Berenfeld, Sharon            3:18-cv-01428                   FL - M.D.
 2                Lay, Lakeisha              3:19-cv-02582                   LA - E.D.
 3
                   Rubin, Joel               3:20-cv-05870             MA - District of MA
 4
                  Tudal, Steven              3:20-cv-05871             MA - District of MA
 5
                 Parkhurst, John             3:19-cv-05349              NH - District of NH
 6

 7               Rounds, Vernon              3:19-cv-04579              NH - District of NH

 8               Sargent, David              3:20-cv-01913              NH - District of NH
 9
                Sheehan, Cynthia             3:19-cv-05342              NH - District of NH
10

11

12   Wave 7 Schedule:

13
                               Event                                                 Date
14   Plaintiffs must submit the newly approved Plaintiff Fact     14 days from approval of the new
     Sheet (including all relevant authorizations) due for any    Plaintiff Fact Sheet.
15   plaintiffs who have not yet provided them.
16   Each plaintiff will provide any medical records in his/her   14 days from approval of the new
     possession and/or his/her counsel’s possession to defense    Plaintiff Fact Sheet.
17   counsel.
     Deficiency letter(s) sent.                                   4 business days from receipt of PFS
18

19   Deadline to cure Plaintiff Fact Sheet deficiencies. The      7 days from receipt of deficiency letter
     parties may file a consolidated letter brief regarding any
20   disputes about whether a deficiency exists.
     Close of fact discovery.                                     1/1/2024
21   The parties should file a letter brief identifying any 2/1/2024
     disputes over the applicable state law for the wave 3 cases.
22
     For cases where that is undisputed, the parties should file
23   a stipulation identifying the governing state law.

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 1   Wave 7A Schedule
 2
                               Event                             Date
 3   Plaintiffs’ expert reports due.                          1/15/2024
 4

 5   Monsanto’s expert reports due.                           2/14/2024

 6
     Close of expert discovery.                               3/15/2024
 7

 8

 9
     Wave 7B Schedule
10

11                             Event                             Date
     Plaintiffs’ expert reports due.                          2/14/2024
12

13
     Monsanto’s expert reports due.                           3/15/2024
14

15   Close of expert discovery.                               4/15/2024
16

17
     Wave 7C Schedule
18

19
                               Event                             Date
20   Plaintiffs’ expert reports due.                          3/15/2024

21
     Monsanto’s expert reports due.                           4/15/2024
22

23
     Close of expert discovery.                               5/15/2024
24

25

26
27

28


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 1   Wave 7D Schedule
 2
                               Event                                              Date
 3   Plaintiffs’ expert reports due.                                           4/15/2024
 4

 5   Monsanto’s expert reports due.                                            5/15/2024

 6
     Close of expert discovery.                                                6/14/2024
 7

 8

 9   Wave 7 Briefing Schedule

10                            Event                                               Date
     Monsanto’s Daubert and summary judgment briefs due.                       6/28/2024
11   Plaintiffs’ opposition and cross-motions re:                              7/12/2024
     Daubert and summary judgment due.
12
     Monsanto’s oppositions and replies re: Daubert and                        7/19/2024
13   summary judgment due.
14   Plaintiffs’ replies re: Daubert and summary judgment due.                  8/2/2024
15   Daubert hearing (if necessary).                                           9/13/2024

16
     The Wave 7 cases shall be assigned as follows. Further, below cases will be assigned sub-waves for
17   expert discovery purposes on October 2, 2022:

18   Wave 7 Cases1

19
                  Plaintiff’s Name         MDL Case No.                 Transferor Court
20
                Favata, Samuel Frank        3:20-cv-05533                   TN - M.D.
21

22                 Laurianti, Jason         3:19-cv-02587                   PA - W.D.

23               Myers, Stacy Lynn          3:20-cv-01308                   MS - S.D.
24
                    Hunter, Sadie           3:21-cv-09947                   CA - C.D.
25

26
     1
      The two putative class actions in this MDL are not included in the Wave process. In Robert Ramirez,
27   et al. v. Monsanto Company, et al.; 3:19-cv-02224, Monsanto recently filed its answer to the amended
     complaint after the Court’s ruling on Monsanto’s motion to dismiss. In Scott Koller, et al. v.
28   Monsanto Company, et al.; 3:22-cv-04260, the parties have stipulated to a schedule for briefing on
     Monsanto’s motion to dismiss.

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 1
             Bentley, Randall      3:22-cv-05050          LA - W.D.
 2

 3           Taylor, Marilyn       3:22-cv-04400          LA - E.D.

 4          Graham, Jr., Larry     3:21-cv-10048      SC - District of SC
 5          McNeely, Carol K.      3:22-cv-00307      SC - District of SC
 6
              Rosales, Alma        3:21-cv-09915      SC - District of SC
 7
             Piganelli, Robert     3:20-cv-07398          IN - S.D.
 8
            King, Jr., Arthur J.   3:21-cv-09294          GA - N.D.
 9

10

11           Sapinsky, Mike        3:20-cv-00257          CA - N.D.

12           Hayes, Michael        3:21-cv-00965          AL - N.D.
                 Randy
13
            Jacobs, Billie June    3:22-cv-02969          NC - M.D.
14
           Djurdjevic, Mirjana     3:19-cv-04765          CA - N.D.
15
             Lydon, Marilyn        3:19-cv-04795          CA - N.D.
16

17         Montgomery, Diane       3:19-cv-04782          CA - N.D.

18          Redmon, Vernon         3:19-cv-04887          CA - N.D.

19          Greenwald, Leslie      3:22-cv-01135          LA - E.D.
20
            Cockerham, Amaj        3:19-cv-08089          NC - M.D.
21
           Moreland, Jr., Emory    3:20-cv-03069          GA - S.D.
22
              Ayres, David         3:17-cv-05716          GA - S.D.
23

24            Batch, Carmen        3:17-cv-05875          GA - M.D.

25           Mosley, Barbara       3:19-cv-01618          GA - S.D.
26
             Sowell, Charles       3:17-cv-04013          GA - S.D.
27
              Sweat, Arthur        3:17-cv-05877          GA - S.D.
28
              Jelonek, David       3:22-cv-01950          FL - S.D.
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 1
              Estruch, Mark        3:22-cv-01134         NY - W.D.
 2

 3           Suchan, Kelli A.      3:22-cv-00862         NY - W.D.

 4        Froemming, Patrick J.    3:22-cv-01754      SC - District of SC
 5          Putzrath, Mario J.     3:19-cv-03786          NC - W.D.
 6
               Bosh, Jennie        3:19-cv-07369          OK - N.D.
 7
               Giri, Meena         3:20-cv-04750          PA - E.D.
 8
             Danecki, Edward       3:19-cv-07378          WI - E.D.
 9

10

11          Crisp, Jeffrey Scott   3:22-cv-01753         KY - W.D.

12          Axelson, Maynard       3:19-cv-06400         WA - W.D.
                 Russell
13
           Benzel, Thomas Jay      3:19-cv-03462          WA - E.D.
14
            Coe, John Edward       3:22-cv-01949         WA - W.D.
15
           Cohen, David Robert     3:19-cv-02077         WA - W.D.
16

17           Culler, Barbara       3:19-cv-06401         WA - W.D.
                 Zellers
18           Delsuc, Laurent       3:19-cv-02079         WA - W.D.

19         Eilmes, Jr., Kenneth    3:19-cv-05345          WA - E.D.
                  Noel
20
            Haase, Caryl Ann       3:19-cv-05957          WA - E.D.
21
           Hayden, Neal Allen      3:19-cv-05600         WA - W.D.
22
           Huntley, Carol Ann      3:19-cv-06407         WA - W.D.
23

24           Johnson-Tannan,       3:19-cv-05956          WA - E.D.
                 Lowell
25          Jones, Douglas G.      3:19-cv-06408         WA - W.D.
26
            Jones, Nicholas C.     3:19-cv-06406         WA - W.D.
27
             Mazzeo, Peter A.      3:19-cv-02315         WA - W.D.
28
           Merchant, Randolph      3:19-cv-03497         WA - W.D.
                   J.
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 1
             Mythen, Daniel        3:19-cv-06402         WA - W.D.
 2              Richard
 3           Pearson, Verna        3:19-cv-07525         WA - W.D.

 4         Piesik, Margaret Rae    3:19-cv-05660         WA - W.D.
 5          Sanders, Thomas        3:19-cv-07401          WA - E.D.
                  Lake
 6
            Stejskal, James D.     3:19-cv-07524         WA - W.D.
 7
               Stolz, Marcel       3:19-cv-07402          WA - E.D.
 8
             Storlie, Frances      3:19-cv-03785          WA - E.D.
 9

10         Toyer, Joan Elizabeth   3:19-cv-06405         WA - W.D.

11         Mercer, Lance Dylan     3:19-cv-06403         WA - W.D.
12
            Parsons, Kenneth J.    3:19-cv-02577         WA - W.D.
13
            Birmingham, Anne       3:22-cv-02701     MD - District of MD
14
             Fattakhov, Albert     3:21-cv-09293          NY - E.D.
15

16            DeMent, Scott        3:19-cv-01182      AZ - District of AZ

17            Hesse, Samuel        3:21-cv-08551          WI - E.D.

18           Allemann, Jerry       3:22-cv-02496      NE - District of NE
19
            Cruikshank, Janene     3:21-cv-07122      NE - District of NE
20
            Jobman, Jeffrey T.     3:22-cv-00093      NE - District of NE
21
           Todd-Meyer, Lois M.     3:21-cv-08324      NE - District of NE
22

23         von Rentzell, Aaron     3:22-cv-02494      NE - District of NE
                   A.
24          Graves, Brent L.       3:21-cv-09832      SD - District of SD
25          Goranson, Gordon       3:21-cv-06832          IN - N.D.
26
              Smith, Pamela        3:21-cv-01505          OK - W.D.
27
           Hambright, William      3:19-cv-04714          CA - N.D.
28


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 1
            Lewis, Robert W.     3:17-cv-04035           FL - M.D.
 2

 3           Godsey, Patricia    3:19-cv-00923            TX - S.D.

 4           Renteria, Marita    3:22-cv-00877       NM - District of NM
 5            Sheller, Aaron     3:19-cv-07972            IN - S.D.
 6
          Greenwood, Elizabeth   3:22-cv-04830            PA - E.D.
 7
           Bowen, Mary Rachel    3:22-cv-02965            TX - S.D.
 8
             Crabtree, Patrick   3:21-cv-01661           TX - N.D.
 9

10           Shrum, Matthew      3:22-cv-02489           TX - W.D.

11           Thiaville, Victor   3:21-cv-05626           LA - E.D.
12
             Phillips, Ronald    3:19-cv-04379           TN - M.D.
13               Edward
            Tolbert, Lena Faye   3:19-cv-05375           TN - M.D.
14
             Monson, Curtis      3:22-cv-03824           LA - E.D.
15

16           Moore, Carol H.     3:22-cv-00091           LA - E.D.

17          Kamm, III, Carl J.   3:22-cv-00786           OH - N.D.

18            Yant, Richard      3:22-cv-03820           OH - N.D.
19
              Mohler, Troy       3:22-cv-01947           KY - W.D.
20
              Terrell, Fannie    3:22-cv-00785           OH - N.D.
21
                Gebo, Ron        3:17-cv-00168           FL - M.D.
22

23            Sorrell, Chad      3:22-cv-05287           NC - E.D.

24          Finneman, Connie     3:18-cv-07021           MO - E.D.
25             Hazel, Mary       3:19-cv-01560           MO - E.D.
26
              Moore, Larry       3:19-cv-04517           MO - E.D.
27
              Myers, Philip      3:19-cv-04411           MO - E.D.
28


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 1
              Redmond, Earl        3:20-cv-07738          TN - M.D.
 2

 3            Ahrent, Vicki        3:18-cv-00065          TN - E.D.

 4         Bradley, Harley R. et   3:19-cv-03523          MO - E.D.
                    al.
 5            Grubb, Shawn         3:20-cv-09293          OK - W.D.
 6
             Lindvall, Daniel      3:20-cv-07218          GA - N.D.
 7
              Shedd, Jr., Ray      3:20-cv-03833          MS - S.D.
 8
              Ruiz, Irene C.       3:22-cv-04716          TX - W.D.
 9

10          Dunaway, Joyce         3:22-cv-04055          KY - E.D.
              Hutchinson
11          Vogl, Linda Mary       3:21-cv-07027      SD - District of SD
12
             Brown, Karen R.       3:22-cv-03819     MT - District of MT
13
              Guest, Frisco        3:20-cv-04214          AL - N.D.
14              Decarlos
              Sweet, David         3:22-cv-03856     MA - District of MA
15

16           Norman, Gazzell       3:21-cv-06495          TX - N.D.

17           Teston, Michael       3:22-cv-04828          GA - N.D.

18           Smith, Thomas         3:20-cv-08517      SD - District of SD
19
             Galvan, Richard       3:22-cv-01889          CA - N.D.
20
             Camara, Victor        3:19-cv-06965          FL - M.D.
21
           Penny, Perry Ramon      3:21-cv-07644          MO - E.D.
22

23          Rotella, Thomas P.     3:21-cv-10050          NY - W.D.

24           Johnson, Aaron        3:16-cv-06043    HI - District of Hawaii
25          Pizl, Michal et al.    3:20-cv-00191    HI - District of Hawaii
26
              Moon, Linda          3:22-cv-05284          LA - E.D.
27             Nicholson
            Capesius, Gregory      3:22-cv-04177          IA - N.D.
28


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 1
              Hirai, Richard     3:21-cv-08116           CA - N.D.
 2

 3          Trimmer, Mark H.     3:22-cv-04120        RI - District of RI

 4           Bergeson, Carl      3:22-cv-03826       MN - District of MN
 5          Bull, Sr., Kenneth   3:22-cv-03380       MN - District of MN
 6
            Cormier, Monique     3:22-cv-04167       MN - District of MN
 7
               Cox, Nancy        3:22-cv-03453       MN - District of MN
 8
            DiQuollo, Robert     3:22-cv-03978       MN - District of MN
 9

10          Fontenot, Terrell    3:22-cv-03854       MN - District of MN

11            Frakes, Jared      3:22-cv-03979       MN - District of MN
12
             Giannetto, Marc     3:22-cv-03381       MN - District of MN
13
             Greiner, Robert     3:22-cv-03384       MN - District of MN
14
            Lane, II, Thomas     3:22-cv-03814       MN - District of MN
15

16          Laroche, Suzanne     3:22-cv-04637       MN - District of MN

17            Paris, Robert      3:22-cv-03387       MN - District of MN

18         Pronnette, Veronica   3:22-cv-03813       MN - District of MN
19
               Reed, Anne        3:22-cv-03454       MN - District of MN
20
            Reinert, Bradford    3:22-cv-03383       MN - District of MN
21
            Schumacher, Bud      3:22-cv-03817       MN - District of MN
22

23             Serpe, John       3:22-cv-03385       MN - District of MN

24           Shirley, Rhoda      3:22-cv-03386       MN - District of MN
25           Teela, Michael      3:22-cv-03382       MN - District of MN
26
             Teodosio, Frank     3:22-cv-03853       MN - District of MN
27
             Thomas, Rex K.      3:22-cv-03227       MN - District of MN
28


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 1
              Tullio, Megan        3:22-cv-03452     MN - District of MN
 2

 3            Winters, Allen       3:22-cv-03822     MN - District of MN

 4             Young, Amy          3:22-cv-04832     MN - District of MN
 5         McAllister, Robert D.   3:22-cv-04302          CA - N.D.
 6
           LeBlanc, Jr., Thomas    3:22-cv-00455         LA - W.D.
 7                  C.
            Dickerson, Shelby      3:22-cv-00656          VA - E.D.
 8
              Ezzell, Michael      3:22-cv-03816          CA - C.D.
 9

10           Dennis, Alzonia       3:22-cv-03225      NJ - District of NJ

11             Parry, Diane        3:22-cv-03226          TX - S.D.
12
              Wood, Johnny         3:22-cv-03818          TX - N.D.
13
              Ponzini, Larry       3:19-cv-03535          AL - N.D.
14
              Jizhak, Eugene       3:20-cv-04646          CA - S.D.
15

16           El-Hakam, Bakri       3:21-cv-09937          TX - S.D.

17           Clausen, Steven       3:22-cv-02293          MO - E.D.

18            Fuller, Juliana      3:21-cv-09588          MO - E.D.
19
            Hutchings, Jeremy      3:22-cv-04636          MO - E.D.
20
             Johnson, Joseph       3:22-cv-02294          MO - E.D.
21
               Reno, David         3:22-cv-02295          MO - E.D.
22

23            Sullivan, Marie      3:22-cv-02296          MO - E.D.

24            Wilson, Linda        3:22-cv-04266          MO - E.D.
25           Mosiman, Gary         3:22-cv-04717     MN - District of MN
26
             Zeig, Rosemary        3:22-cv-05047     MN - District of MN
27
              Aguiar, Linda        3:22-cv-03379          TN - M.D.
28


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 1
            Albarran Ramirez,      3:22-cv-02808    PR - District of Puerto
 2              Rosabell                                    Rico
 3          Ambrose, Joanne        3:22-cv-02809          IL - N.D.

 4         Audiino, Jacqueline     3:22-cv-02700          NY - E.D.
 5            Caban-Brizzie,       3:22-cv-03840    PR - District of Puerto
                 Ramon                                      Rico
 6
             Coffman, Brenda       3:22-cv-02683          OH - S.D.
 7
              Cook, Daniel         3:22-cv-04403          MO - E.D.
 8
              Green, Edward        3:22-cv-03980          NY - E.D.
 9

10           Hudnall, Beverly      3:22-cv-04635          MS - S.D.

11           John, Steven B.       3:22-cv-03815          CA - E.D.
12
            Melchiona, Henry       3:22-cv-02702          NY - E.D.
13
              Pessis, Dennis       3:22-cv-03831          IL - N.D.
14
            Resto, Elsie Ketty     3:20-cv-07882    PR - District of Puerto
15                Pagán                                     Rico
16          Rivera, Hector M.      3:20-cv-07552    PR - District of Puerto
                   Toro                                     Rico
17          Scolieri, Antonino     3:20-cv-05771          NY - E.D.

18          Trinidad, Damaris      3:20-cv-07325          NY - S.D.
19
               Wade, Roy           3:22-cv-02703          TX - E.D.
20
             Young, Landon         3:22-cv-04831      SC - District of SC
21
             Cornell, William      3:22-cv-03139          FL - S.D.
22

23            Jones, Michael       3:22-cv-03137          FL - S.D.

24             Rein, Susan         3:22-cv-03138          FL - S.D.
25         Reid, Charles Fredric   3:22-cv-04080          NC - M.D.
26
               Glass, Paul         3:20-cv-05867      ID - District of ID
27
            Hooks, Demetrius       3:20-cv-04199          AL - M.D.
28


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 1
               Arven, Mary         3:19-cv-04925          CA - N.D.
 2

 3            Cann, John M.        3:22-cv-00306      SC - District of SC

 4            Abadie, Mary         3:22-cv-04079          LA - E.D.
 5            Arabie, Randy        3:22-cv-01508          LA - E.D.
 6
           Benton, Gerald Wade     3:19-cv-05209          AL - N.D.
 7
              Callais, Dawn        3:22-cv-01752          LA - E.D.
 8
              Crist, Carolyn       3:22-cv-05051          LA - E.D.
 9

10            Daigle, Susan        3:22-cv-01750          LA - E.D.

11            Dinicola, Paul       3:22-cv-05049          LA - E.D.
12
              Draten, Stacy        3:21-cv-08999          LA - E.D.
13             Henyarnd
             Duhe, Jr., Eddie      3:22-cv-05052          LA - E.D.
14
               Fuqua, Jodi         3:21-cv-01826          TX - E.D.
15

16         Holsapple, Stephanie    3:22-cv-04119          MS - S.D.

17            Judycki, Joan        3:22-cv-01507          LA - E.D.

18            Keller, Florita      3:22-cv-03821          MS - S.D.
19
              Landry, Mary         3:22-cv-03827          LA - E.D.
20
             Leonard, Charles      3:22-cv-01751          LA - E.D.
21
              Martin, Ruffin       3:22-cv-02103          LA - E.D.
22

23         McCall, Timothy R.      3:19-cv-05868          AL - N.D.

24         Miramon, Mary Anne      3:22-cv-02491          LA - E.D.
25           Paggett, Terrisa      3:22-cv-02105          LA - W.D.
26
            Positerry, II, Lloyd   3:22-cv-02490          LA - E.D.
27
             Prevost, Kenneth      3:22-cv-01506          LA - E.D.
28


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 1
             Scruggs, John L.     3:19-cv-05867           AL - N.D.
 2

 3           Shields, Roscoe      3:20-cv-02485           MS - N.D.

 4            Stern, Robert       3:22-cv-02107           MS - S.D.
 5         Taylor, Kerrigan D.    3:19-cv-05650           AL - N.D.
 6
              Thomas, John        3:22-cv-05048           TX - E.D.
 7
             Tory, Hamilton       3:19-cv-05379           MS - S.D.
 8
            Washington, Annie     3:22-cv-02106           LA - W.D.
 9

10           Wilson, William      3:22-cv-02493           LA - W.D.

11           Woodall, Hobert      3:22-cv-02104           LA - W.D.
12
             Harwick, James       3:22-cv-00087           AL - M.D.
13
           Bray, Angela Holder    3:22-cv-01133           TN - E.D.
14
           O'Dell, Roger Dean     3:21-cv-03756           WV - S.D.
15

16         McCaskill, Matthew     3:19-cv-03539           MS - N.D.

17          Thuss, Robert W.      3:19-cv-07533           GA - N.D.

18           Abel, Augustus       3:21-cv-07124           OH - S.D.
19
            Bowe, William P.      3:22-cv-01229           OH - N.D.
20
           Faschingbauer, Larry   3:17-cv-03202           WI - W.D.
21                  J.
            Yoder, Howard H.      3:22-cv-03140           OH - S.D.
22

23             Agosta, Carl       3:21-cv-06562           MI - E.D.

24            Pena, Antonio       3:21-cv-08448            IL - N.D.
25          Stewart, Mark D.      3:20-cv-01835           OK - W.D.
26
              Carter, Alaine      3:22-cv-01655       UT - District of UT
27
              Price, Rodney       3:22-cv-05046       UT - District of UT
28


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 1
            Hensley, Norman        3:22-cv-02298         VA - W.D.
 2

 3         Bussey, Jr., John W.    3:21-cv-01044          MS - S.D.

 4         Hogue, Christopher      3:19-cv-04117         NC - W.D.
               Michael
 5           Martin, Brian         3:21-cv-08549         WA - W.D.
 6
             Colucci, Richard      3:22-cv-00860          NY - S.D.
 7
                Pelz, Leon         3:22-cv-03224      NJ - District of NJ
 8
             Andrews, Robert       3:21-cv-07745     MA - District of MA
 9

10         Romano, Nathan P.       3:20-cv-06194         WV - N.D.

11           Francis, Edward       3:21-cv-08445          IL - N.D.
12
              Smith, Don A.        3:21-cv-07125          IL - N.D.
13
             Samra, Michael        3:22-cv-03388      NJ - District of NJ
14
            Ferrington, Charles    3:21-cv-06113         LA - W.D.
15

16           Manukyan, Sofia       3:22-cv-01268          CA - C.D.

17         Sarkissian, Vigen J.    3:22-cv-00309          CA - C.D.

18         Holmes, Christoper      3:20-cv-03363          FL - S.D.
19
               Levy, Robert        3:21-cv-07643          FL - S.D.
20
              Perez, Michael       3:22-cv-00089          FL - M.D.
21
              Carlsrud, Dale       3:22-cv-04638     MN - District of MN
22

23            Mayer, Karen         3:21-cv-01663     ND - District of ND

24            Hong, Kenneth        3:19-cv-02895          CA - N.D.
25         Jones-Basler, Caitlin   3:19-cv-03536          CA - E.D.
                  et al.
26
             Mignone, Joseph       3:21-cv-00501          CA - N.D.
27
           Jones, David Robert     3:21-cv-08048          NY - N.D.
28


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 1
              Kirby, Robert       3:21-cv-08447           CA - E.D.
 2

 3          Denenberg, Doug       3:21-cv-08920           IL - N.D.

 4           Fisher, Marylnn      3:21-cv-06764           IL - N.D.
 5         Warholak, Diane E.     3:21-cv-06112           PA - W.D.
 6
             Lanier, Tammy        3:20-cv-04751           GA - S.D.
 7
              Ragan, Doris        3:21-cv-08939          GA - M.D.
 8
            Dallen, Jeanette      3:22-cv-02495      FL - Broward County
 9              Garvito
10          Woods, Henrietta      3:20-cv-00315           AL - N.D.

11            Davis, Laura        3:22-cv-02297       NJ - District of NJ
12
               Leas, Robert       3:19-cv-01376           IN - S.D.
13
              Smith, Roy H.       3:19-cv-03597           FL - M.D.
14
           Neighbors, Whitney     3:22-cv-04168           MO - E.D.
15

16             May, James         3:21-cv-02126      MA - District of MA

17          Swanson, Naomi        3:21-cv-08047           GA - N.D.

18          Foral, Sr., Robert    3:20-cv-03440           MO - E.D.
19
             Kincell, Bonnie      3:20-cv-03446           MO - E.D.
20
             Molina, Lazaro       3:20-cv-03448           MO - E.D.
21
           Randazzo, Nicholas     3:22-cv-02492           LA - E.D.
22

23          Gautier, Nadezhda     3:22-cv-00101           LA - E.D.

24          Sabouri, Anousheh     3:22-cv-02292           CA - N.D.
25           Muise, Timothy       3:21-cv-09626      MA - District of MA
26
           Matherne, Michael J.   3:22-cv-01948           LA - E.D.
27
            Dulniak, Richard      3:22-cv-03956           CA - N.D.
28


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 1
              Greil, Daniel        3:22-cv-04291          CA - N.D.
 2

 3           McClure, Mark         3:21-cv-06688          CA - N.D.

 4           Murphy, Shawn         3:19-cv-05007          CA - N.D.
 5        Peperoni, Jr., Ron and   3:19-cv-05001          CA - N.D.
                  Stacy
 6
            Sullivan, Maria E.     3:22-cv-01269      CT - District of CT
 7
           Schoenberg, Robert      3:20-cv-06783      KS - District of KS
 8                 L.
           Anderson, Jacklyn       3:20-cv-00848          FL - M.D.
 9                Lee
10         Anderson, Michael       3:19-cv-06092          FL - M.D.

11           Buchanan, Mark        3:20-cv-03718          FL - M.D.
12
             Chapman, Dick         3:19-cv-06723          FL - M.D.
13
              Ellis, Timothy       3:19-cv-06091          FL - M.D.
14
              Gibson, Faith        3:22-cv-04399          FL - M.D.
15

16            Haley, Brenda        3:22-cv-04401          GA - M.D.

17           Jilnicki, Robert      3:19-cv-06047          FL - M.D.

18           Jones, Sheldon        3:22-cv-04265          GA - M.D.
19
             Lampert, Laurie       3:22-cv-05044          FL - M.D.
20
            Matarazzo, Donna       3:22-cv-05285          FL - M.D.
21
             Mellon, William       3:22-cv-01951          FL - M.D.
22

23          Occhipinti, Connie     3:22-cv-00470          FL - M.D.

24             Pease, Marc         3:21-cv-10049          FL - M.D.
25            Plank, Wilson        3:20-cv-03450          FL - M.D.
26
               Ricke, Anne         3:19-cv-06090          FL - M.D.
27
             Roman, Albert         3:22-cv-03855          FL - M.D.
28


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 1
             Seaman, Charles      3:21-cv-02546           FL - M.D.
 2

 3          Somach, Michael       3:19-cv-06048           FL - M.D.

 4         Southerland, Willie    3:19-cv-06049           FL - M.D.
 5         Stevens, Vickie Hall   3:22-cv-03859           FL - M.D.
 6
           Waldrop, Molly-Jack    3:20-cv-08798           TX - N.D.
 7
             Barnhart, David      3:21-cv-09295           TX - S.D.
 8
              Sonnier, Scott      3:21-cv-08883           LA - W.D.
 9

10            Vaughn, John        3:22-cv-03228           TN - M.D.

11           Webb, Dan W.         3:20-cv-00493           MS - N.D.
12
             Saunders, Alfred     3:21-cv-10002           NY - E.D.
13
             Winer, Paula M.      3:20-cv-04844           IN - N.D.
14
           Demarmels, Michael     3:22-cv-04406           NY - S.D.
15

16            Howell, Tony        3:20-cv-07322           NC - W.D.

17           Straub, Richard      3:22-cv-03829       AZ - District of AZ

18            Stormes, Lacy       3:19-cv-06026           CA - C.D.
19
           Whitehouse, Sidney     3:19-cv-05964           CA - E.D.
20                E.
            Seieroe, David        3:21-cv-09840           IA - N.D.
21
               Arnold, Carl       3:22-cv-02810       NJ - District of NJ
22

23           Bennett, Linda       3:22-cv-00659       NJ - District of NJ

24           Bokhari, Enver       3:22-cv-02108           NY - E.D.
25            Carmiel, Bilha      3:22-cv-03389       NJ - District of NJ
26
              Ginkel, Peter       3:22-cv-00358       NJ - District of NJ
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           Magner, Madeline A.    3:22-cv-02497       NJ - District of NJ
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 1
                Pierrot, Charles M.   3:22-cv-02967         NJ - District of NJ
 2

 3               Ricci, Patrick J.    3:22-cv-02498         NJ - District of NJ

 4             Rutherford, Michael    3:22-cv-03823         NJ - District of NJ
 5            Flowers, Sr., William   3:19-cv-01123             TN - M.D.
                    Edward
 6
               Valinoti, Henrietta    3:22-cv-02966         NJ - District of NJ
 7
               Shaffer, Mary Metz     3:22-cv-04404             PA - M.D.
 8
               Zuiderveen, Randall    3:20-cv-00582             MI - W.D.
 9

10            Thompson, Jr., James    3:22-cv-05053             PA - E.D.
                     C.
11              Sanchez, Maria        3:20-cv-02634             AL - M.D.
12
                 Tierney, Patrick     3:19-cv-01937            WA - W.D.
13
                 Carriere, Hiram      3:19-cv-06830             TX - S.D.
14
                Lowery, Michael       3:19-cv-07375            TX - W.D.
15

16                 Lane, David        3:22-cv-01022             VA - E.D.

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     Date: __________________,
            November 3         2022       _____________________________________
20                                        HONORABLE VINCE CHHABRIA
                                          UNITED STATES DISTRICT COURT
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